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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION

UNITED STATES OF AMERICA               )       CASE NO. 4:19-CR-171
                                       )
              v.                       )
                                       )
MATTHEW DULIN, et al.                  )


                                     ORDER

           Based upon the motion of the Government, and for good cause shown

therein, the Government’s motion for leave of absence is GRANTED for the following

dates:

              a)    March 15 through 21, 2020 for personal leave



         IT IS FURTHER ORDERED that should a hearing be set during those dates,

a substitute Assistant United States Attorney may handle the matter.

         SO ORDERED, this UG day of -DQXDU\ 2020.




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